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 1   QUIN DENVIR, Bar No. 49374
     Federal Defender
 2   801 I Street, Third Floor
     Sacramento, CA 95814
 3   Telephone: (916) 498-5700

 4   Attorney for Defendant
     Luis Armando de la Herran Meza
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT

 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,               )
                                             ) No. CR S-05-189 LKK
11                  Plaintiff,               )
                                             )
12        v.                                 )
                                             )
13   LUIS ARMANDO DE LA HERRAN MEZA, et al., ) ORDER
                                             )
14                  Defendant.               )
     ________________________________________)
15
               The above-captioned matter came on for status conference on
16
     September 7, 2005 at 9:30 a.m.         The government was represented by
17
     Assistant United States Attorney Mary Grad. Defendant Herran-Meza was
18
     represented by Federal Defender Quin Denvir.        Defendant Lopez-Sanchez
19
     was   represented    by   Lorie   Teichert.     Defendant     Meza-Felix   was
20
     represented by Federal Defender Quin Denvir, specially appearing for
21
     Robert Sherman Wynne, with the defendant’s consent.         At the request of
22
     the parties, the case was continued to Tuesday, September 27, 2005 at
23
     9:30 a.m. and time was excluded through that date under Local Code T-4
24
     to allow the parties to discuss possible resolution of the case
25
     without the need for a trial.
26
     DATED: September 9, 2005
27                                     /s/Lawrence K. Karlton
                                       HONORABLE LAWRENCE K. KARLTON
28                                     Senior, United States District Judge
